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 1                                                                         The Honorable John H. Chun
                                                                              Trial Date: April 29, 2024
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 7                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   ALEXANDRIA L. ERWIN and
     IVAN J. JOHNSON LUCIANO,                                 Case No. 2:22-cv-00893-JHC
10
                         Plaintiffs,
11                                                            STIPULATED MOTION AND
            vs.                                               ORDER TO CONTINUE
12                                                            DISCOVERY DEADLINE AS TO
     OBI SEAFOODS, LLC,                                       DEPOSITIONS OF RULE 30(b)(6)
13                                                            DESIGNEE(S) AND JUSTIN
                         Defendant.                           MULLINS
14
                                                              Noted on Motion Calendar:
15                                                            Friday, November 17, 2023
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17          Pursuant to Federal Rule of Civil Procedure 6(b) and LCR 16(b)(6), the Parties request a

18   brief continuance of the discovery deadline in this matter as to the depositions of OBI’s Rule

19   30(b)(6) designee(s) and Justin Mullins, if the Court’s schedule can accommodate it. In support of

20   this stipulation, Defendant states as follows:

21          1. Trial is scheduled for April 29, 2024. Dkt. # 38.

22          2. The discovery deadline is December 1, 2023. Dkt. #38.

23          3. The Parties are engaged in discovery, and have diligently pursued written discovery,

24                issuing and responding to discovery requests for production and participated in multiple

25                depositions.

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     STIPULATED MOTION AND ORDER TO CONTINUE
     DISCOVERY DEADLINE AS TO DEPOSITIONS OF RULE 30(b)(6)
                                                                                LITTLER MENDELSON, P.C.
     DESIGNEE(S) AND JUSTIN MULLINS                                                   One Union Square
     CASE NO. 2:22-CV-00893-JHC                                                600 University Street, Suite 3200
                                                                                   Seattle, WA 98101.3122
                                                                                         206.623.3300
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 1          4. On October 26, 2023, Plaintiff issued a Notice of Rule 30(b)(6) Deposition to

 2             Defendant and set the deposition for November 27, 2023.

 3          5. On November 7, 2023, Plaintiff issued a Notice of Deposition for fact witness Justin

 4             Mullins for November 28, 2023.

 5          6. On November 7, 2023, Defendant’s counsel informed Plaintiff’s counsel that they were

 6             unavailable on November 27, 2023, and November 28, 2023, for these depositions but

 7             would be available on December 5, 2023 and December 13, 2023 —after the close of

 8             discovery. Plaintiff declined to reschedule the aforementioned depositions given that

 9             the only alternative dates Defendant provided were after the Court-ordered discovery

10             cutoff.

11          7. On November 16, 2023, the Parties met and conferred on the timing of these

12             depositions as well as their substance. Defendant confirmed they would not produce

13             Mullins or a 30(b)(6) designee before the discovery cutoff. While the Parties were

14             unable to meet minds about narrowing the substance of the notices during this meeting,

15             they came to an agreement to extend the discovery deadline as to the Plaintiff’s Notice

16             for a Rule 30(b)(6) deposition and the deposition of Justin Mullins only. Plaintiff’s

17             counsel agreed a brief continuance of the discovery cutoff was necessary given that (1)

18             Defendant confirmed it would not produce Mullins or a 30(b)(6) designee before the

19             close of discovery and (2) Defendant intended to move for a protective order on both

20             deposition notices, and the Court may not be able to decide the issues raised by

21             Defendant before end of the discovery period.

22          8. The Court may extend the case schedule where good cause exists. Fed. R. Civ. P.

23             16(b)(4). LCR 16(b)(4). St. George v. Sequim Sch. Dist., No. 18-CV-05372-RJB, 2018

24             WL 6518118, at *1 (W.D. Wash. Dec. 11, 2018).

25          9. The Parties propose continuing the deadline for discovery up to and including

26             December 14, 2023, or such time as the Court deems appropriate, for the limited
     STIPULATED MOTION AND ORDER TO CONTINUE
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                                                                            LITTLER MENDELSON, P.C.
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 1             purpose of completing the Rule 30(b)(6) deposition and that of Justin Mullins. Such an

 2             extension will allow time to re-note the depositions after the Court rules on Defendant’s

 3             motions for protective orders, filed simultaneously with this Motion.

 4          10. The Parties recognize that the Court may not rule on Defendant’s motions for protective

 5             orders by December 14, 2023, and should this occur, the Parties would ask that the

 6             discovery deadline be re-set to allow the depositions to proceed after the Court

 7             addresses Defendant’s pending Motions.

 8          11. The Parties in this matter understand that such continuances could impact the date of

 9             dispositive motions and trial in this matter. However, the Parties are not currently

10             requesting to move these dates.

11          12. If the Court should deem it necessary, however, the Parties stand ready to cooperate

12             with the Court to reschedule the same to a mutually agreeable date.

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 1          IT IS SO STIPULATED THIS 17th day of November, 2023.

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 3
     /s/ Carson Phillips-Spotts                 s/ Alyesha A. Dotson
 4   (via email authorization)                  Alyesha A. Dotson, WSBA #55122
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     Fax (206) 682-2305
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     Alexandria L. Erwin and
11   Ivan J. Johnson Luciano
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17   Attorneys for Plaintiffs
     Alexandria L. Erwin and
18   Ivan J. Johnson Luciano
19

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 1                                              ORDER

 2          THIS MATTER, having come before the undersigned judge of the above-entitled Court,

 3   based on the foregoing Stipulated Motion, now, therefore,

 4          IT IS HEREBY ORDERED that the discovery deadline and dispositive motion deadlines

 5   in this matter be CONTINUED up to and including December 14, 2023.

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 7          DATED this 20th day of November, 2023.

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                                                        John H. Chun
11                                                      United States District Judge
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 1                                  CERTIFICATE OF SERVICE

 2          I am a resident of the State of Washington, over the age of eighteen years, and not a party

 3   to the within action. My business address is One Union Square, 600 University Street, Ste. 3200,

 4   Seattle, WA 98101. I hereby certify that on November 17, 2023, I electronically filed the

 5   foregoing document titled Stipulated Motion and [Proposed] Order to Continue Discovery

 6   Deadline as to Depositions of Rule 30(b)(6) Designee(s) and Justin Mullins with the Clerk of

 7   the Court using the CM/ECF system, which will send notification of such filing to the following

 8   CM/ECF system participants:

 9     Attorneys for Plaintiffs

10     Carson Phillips-Spotts, WSBA #51207
       Elizabeth Hanley, WSBA #38233
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       Tel: 206.498.4594
19     Email: karen@karenkleinlaw.com

20
            I declare under penalty of perjury under the laws of the State of Washington that the above
21
     is true and correct. Executed on November 17, 2023, at Seattle, Washington.
22

23
                                                         /s/ Noemi Villegas
24                                                       Noemi Villegas, Legal Secretary
                                                         NVillegasDiaz@littler.com
25                                                       LITTLER MENDELSON, P.C.
26
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